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Matthew T. Christensen, ISB: 7213
JOHNSON MAY
199 N. Capitol Blvd, Ste 200
Boise, ID 83702
Phone: (208) 384-8588
Fax: (208) 629-2157
Email: mtc@johnsonmaylaw.com

Attorneys for Debtor in Possession

                               UNITED STATES BANKRUPTCY COURT

                                          DISTRICT OF IDAHO

In re:                                                  Case No. 21-00737-NGH

IM SERVICES GROUP, LLC,                                 Chapter 11

                              Debtor.

          APPLICATION TO EMPLOY COUNSEL FOR DEBTOR IN POSSESSION
     Notice of Application to Employ Counsel for Debtor and Opportunity to Object and for
                                          a Hearing

     No Objection. The Court may consider this request for an order without further notice or
     hearing unless a party in interest files an objection within twenty-one (21) days of the date of
     this notice. If an objection is not filed within the time permitted, the Court may consider that
     there is no opposition to the granting of the requested relief and may grant the relief without
     further notice or hearing.

     Objection. Any objection shall set out the legal and/or factual basis for the objection. A
     copy of the objection shall be served on the movant.

     Hearing on Objection. The objecting party shall also contact the court’s calendar clerk to
     schedule a hearing on the objection and file a separate notice of hearing.

          The Debtor in Possession, IM SERVICES GROUP, LLC, (together, the “Debtor in

Possession” or “Applicant”) make application for authority to retain counsel, and in support

thereof respectfully show that:

          1.        Debtor has filed a petition initiating a case seeking relief under Chapter 11 of the

Bankruptcy Code and is currently in possession of its property and operation of its business.

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          2.        Pursuant to 11 U.S.C. § 1107 and § 327, the Applicant wishes to employ an attorney

to render professional services for it as debtor-in-possession, and it is necessary to obtain legal

assistance in the following matters (all as outlined on the Engagement Letter attached as Exhibit

A):

                    A.     Preparation and filing of a petition, Schedules, Statement of Financial
                           Affairs, and other related forms;
                    B.     Attendance at all meetings of creditors, hearings, pretrial conferences, and
                           trials in the case or any litigation arising in connection with the case,
                           whether in state or federal court;
                    C.     Preparation, filing, and presentation to the Bankruptcy Court of any
                           pleadings requesting relief;
                    D.     Preparation, filing, and presentation to the court of a disclosure statement
                           and plan of arrangement under Chapter 11 of the Bankruptcy Code;
                    E.     Review of claims made by creditors or interested parties, preparation, and
                           prosecution of any objections to claims as appropriate;
                    F.     Preparation and presentation of a final accounting and motion for final
                           decree closing the bankruptcy case; and
                    G.     Performance of all other legal services for the Applicant that may be
                           necessary herein.

          3.        Applicant desires to retain counsel immediately and would retain Matthew T.

Christensen and other attorneys from Johnson May, who is or are duly admitted to practice before

this court.

          4.        Said attorneys are familiar with the Bankruptcy Code and Rules and the Local Rules

of the United States Bankruptcy Court for the District of Idaho.

          5.        Filed contemporaneously with this Application is a Verified Statement of Matthew

T. Christensen in Support of Application to Employ Counsel for Debtor in Possession. The

Verified Statement described the pre-filing fees and expenses incurred (which includes the court

filing fee) and what amount remains in the retainer. The remaining amount is being held in the

attorney’s client trust account on behalf of the Applicant.



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          6.        The Applicant has selected this attorney because he has experience in matters of

this character and the Applicant believes he is well qualified to represent them as debtor-in-

possession in this case.

          7.        To the best of the Applicant’s knowledge, this attorney has no connection with

Debtor (other than as described in the Verified Statement contemporaneously filed with this

Application, including prior representation of the Debtor), any personnel employed on the Office

of the United States Trustee, the creditors or any other party in interest, or their respective attorneys

or accountants (other than normal professional relationships), nor does this attorney represent or

hold any interest adverse to the debtor in possession or the estate herein in the matters upon which

he is to be engaged, and his employment would be in the best interests of the estate and its creditors.

          8.        The Applicant wishes to employ the attorney under a general retainer because of

the extensive legal services required herein. Additionally, for a portion of the services, the

Applicant wishes to employ the attorney on a contingency-fee basis based on Accounts Receivable

actually by counsel. For this contingency-fee portion of the employment, the Applicant and

Counsel seek pre-approval of the collections contingency-fee pursuant to 11 U.S.C. §328.

          9.        This Application is supported by the Verified Statement of Matthew T. Christensen

in Support of Application to Employ Counsel for Debtor in Possession, filed contemporaneously

herewith.

          10.       Objections to this Application must be filed with the US Bankruptcy Court, 550 W.

Fort Street, MSC 042, Boise, Idaho, 83724, and a copy served upon the Debtor, not later than

twenty-one (21) days from the mailing of this notice.

          /

          /

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          /

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          /



          WHEREFORE, the Applicant prays that it be authorized to employ and retain Matthew T.

Christensen, of the firm Johnson May, to represent it as debtor-in-possession of this estate upon a

general retainer and a contingency-fee for collections work.



          DATED this 28th day of December, 2021.



                                                 /s/ Sabatha Kelsey
                                          Sabatha Kelsey, Director of Finance & Accounting
                                          For IM Services Group, LLC, Debtor in Possession
                                          Member




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                                                    u
        <sf                                                                   MATTHEWT. CHRISTENSEN
                         Attorneys ft Counselors
                                                                               mtc@johnsonmaylaw.com




                                          December 28, 2021


ENGAGEMENT LETTER

VIA EMAIL: alecmclar              ahoo.com
IM Services Group, LLC
c/o Sabafha Kelsey
5418 N. Eagle Rd., Ste 160
Boise, ID 83713

        RE:     Chapter 11 Bankruptcy
                Our FileNo. 15972-001

Dear Sabbie:

        By this letter I am confirming the terms ofyour retention ofmy finn for purposes of filing
a Chapter 11 bankmptcy petition on behalf of IM Services Group, LLC. I am the responsible
attorney for this matter. However, I may delegate or share this responsibility with other attorneys
in my firm. I will endeavor to keep you reasonably advised ofthe participation by other attorneys
in my firm.

       You hereby retain and employ Johnson May to represent IM Services Group, LLC, in a
caseto beinitiatedunder Chapter 11 ofthe Bankmptcy Code.

        The legal services to be rendered are as follows:

                (1)     Preparation and filing of a petition. Schedules, Statement of Financial
                        Affairs, and other related forms;

                (2)     Attendance at all meetings ofcreditors, hearings, pretrial conferences, and
                        trials in the case or any litigation arising in connection with the case,
                        whetherin state or federal court;

                (3)     Preparation, filing, and presentation to the Bankmptcy Court of any
                        pleadingsrequestingrelief;

                (4)     Preparation, filing, and presentation to the court of a disclosure statement
                        and plan or arrangement under Chapter 11 ofthe Bankmptcy Code;

                (5)    Review of claims made by creditors or interested parties, preparation, and
                       prosecutionofany objections to claims as appropriate;



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                (6)    Preparation, filing, and presentation to the court of all applications to
                       employ and compensateprofessionalsin the Chapter 11 proceeding; and

                (7)    Prq?aration and presentation of a final accounting and motion for final
                       decree closingthebankruptcycase.

        In addition, we will pursue collection actions on behalf of IM Services Group, LLC, to
recover accounts receivable owed to the Company.

       It is possible that the U. S. Trustee, or any creditor, may file a motion seeking dismissal of
your case. If that happens, we will appear on your behalf at that hearing. However, there is no
way, because ofthe new and undecided state of certain parts ofthe Bankruptcy Code, that we can
promise you that the outcome of such a hearing will be in your favor, although we will use every
reasonableargument and evidenceto obtainthatresult.

        In consideration of the legal services to be rendered to the undersigned by Johnson May,
you agree to pay to Johnson May on or before the date a petition is filed on behalf of the
undersignedwhichinitiates a caseunder the Bankruptcy Code, the sum of $60,000.00 in cash or
by certified/cashier's check or wire transfer as a retainer. You understand and agree that all
services rendered by Johnson may to you (other than collection of accounts receivable) will be
charged andbilled at the current hourly rates depicted on ExhibitB attachedhereto. The amount
paid as a retainer will be applied to all pre-petition work performed by the firm. Any amount
remaining in the retainer will be held in our client trust account to be applied to post-petition work
donein the Chapter 1 1 proceeding, afterreceiving court approval.

         For collection of receivables, you agree that Johnson May will be compensated on a
contingency-fee basis based on amounts actually recovered. In the event of recovery prior to
initiating a lawsuit to recover funds, you agree that Johnson May will be entitled to attorney fees
of twenty-five percent (25%) of any amounts recovered. In the event a lawsuit is required to
recoverthereceivables,JohnsonMaywill be entitledto attorneyfeesofthirty-threepercent(33%)
ofany amounts recovered. Inthe event a caseis appealed, JohnsonMay will be entitled to attorney
fees of forty percent (40%) of any amoimts recovered. In any case, IM Services Group will be
responsible for any costs or expenses incurred in pursuing the recovery of receivables. Any fees
owed pursuant to this paragraph will be owed whether the receivable is recovered through
negotiation, settlement, entry ofjudgment or collection on a judgment.

        You further understand that the representation described in this agreement does not in any
way guarantee or represent to you that a discharge in bankruptcy will be obtained by the company,
or that all debts from which discharge canbe sought will be included in any such discharge. While
wewill endeavor to obtain a discharge ofthe company debts, we cannot guarantee such a discharge
will be obtained.

        By signingbelow, you acknowledge,understand, and agreethat JohnsonMay will utilize
its best efforts to obtain approval and confirmation of a plan or arrangement under Chapter 11 of
the Bankruptcy Code but that we make no warranty or guaranty of approval or confirmation of
suchplan.




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       This letter and the enclosed exhibits constitute our engagement agreement with you.
Togetherthey establishthe scope andtenns ofour engagementandinform you regardingour fees
and billing practices. The Chapter 11 Bankruptcy agreement constitutes our entire agreement
regardingthe current scopeofwork andmaybe amendedonly by mutual agreement confirmedin
writing andconfirmedby thebankruptcy court if necessary.

       If you have any questions, or do not agree to the fees or tenns of representation, please
contact me at once. If you agree to these terms, please indicate your approval by signing the
acceptance form below andreturning a copy to me with the retainer funds. Please also keep a copy
of this letter for your own records.

        In addition to the foregoing, because this is a filing for an entity, we will require a personal
guaranteefromthecompanyowner(s) ofall feesincurredbythecompanyrelatedto thebankruptcy
case. You acknowledge that we will first seek payment ofthe fees from IM Services Group, LLC,
but in the event IM Services Group, LLC or its bankruptcy estate does not pay fees and costs
incurred, the Guarantorwill paythe remainingunpaidfees andcosts.

                                               Very Tmly Yours




                                               Matthew T. Christensen
                                               Attorney at Law


MTC | as


Enclosiires: Exhibit A: General Terms and Conditions
             ExhibitB: RetainerFundAgreement
             Exhibit C: Fee and Cost Schedule
             ExhibitD: Conflict Agreement


                     ACCEPTANCEOF CHAPTER11 BANKRUPTCY
                                ENGAGEMENT AGREEMENT

      I have read the preceding letter and the enclosures that follow, including the conflict
agreement. I agree to the firm's representation on those terms.




       Dated: 1^- B 3J
                                         IM SERVICES G , LLC
                                         By: SabbieKelsey, its DirectorofFinance& Accounting


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                                            EXfflBIT A

                                         JOHNSON MAY

                                  General Terms and Conditions

      Client. The terms "you" and the "client" are used interchangeably in this Engagement
Agreement; bothrefer to IM Services Group, LLC.

       Scope ofWork. A description ofthe initial scope ofwork hasbeen provided to you. You
may alter the scope of work or authorize additional work or new matters orally or in
writing. Unless otherwise provided and confirmed in writing, all matters will be subject to this
Engagement Agreement.

        Electronic Files. Johnson May maintains client files electronically only. It is important
our clients understand that although we preserve original signatures pages or other items required
by certain laws or statutes, we do not maintain a paper file on behalfof our clients. This means
that any and all documents supplied to us by you, or your agents or representatives will be
electronically scanned into our system and the original will be returned to you. In the event a
Judge or other party requires the production of an original document, you must provide that
original to the requesting party if their request falls under certain statutes or rules which your case
is governed.

        Document and Data Preservation. If this matter is an active dispute or if it is likely to
ripen into a dispute, you shall, immediately, preserve all potentially relevant evidence (including
documents, electronic data files, photographs, or any other subject matter) that pertains to the
subjectmatter ofthe scope ofwork. Furthermore, you must:

        (a)     Identifyall agentsor employees in possessionofpotentiallyrelevant evidence, and
                provide contact information so that the firm may provide written instructions to
                such individuals to preserve such infonnation and cease all ordinary document
                destmction or computerbackup overwriting;

        (b)     Meet with the attorney assigned to your matter and confer with that attorney to
                ensure that they understand all ofyour data retention practices and policies;

        (c)     Instizictall employees andagentsto producecopies ofanyrelevant active files and
                make sure that all backupmediais safely stored; and

        (d)     Periodically monitor document and data preservation and coordinate with the
                attorney assigned to your matter to ensure that all data and evidence is safely
                preserved.

       SocialMedia. Publishinginformationpertainingto your caseor matter on socialmedia
presents multiple risks and complications. Depending on the information and the surrounding
circumstances, suchpostings could waiveprivileges, makeinadvertent or accurateadmissions, or


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 violate pending court orders. Unless you have obtained prior approval from our firm, you agree
to refrain from any social media postings or communication regarding the matters in which
JohnsonMay is representingyou.

        Billing Procedures. The firm typically provides monthly billing statements by regular
mail. Billing statements arebroken out by matter and are sent to the person and address identified
for the particular matter. Please advise us if you would like the matters to be organized differently
or if you wish for the statements to be directed to a different person.

       Late Fees. The amounts shown on the firm's statements are payable within thirty (30)
daysafterthedateofthe statement(unless chargeableto a RetainerFund). Statementsthatarenot
paidwithinthirty (30) dayswill be assesseda late payment chargeat the rate ofone and one-half
percentpermonth (18.0% per annum) on theunpaidbalance.

        Billing Questions. The firm will be pleased to answer any questions you have about
billing. If you have concerns about any portion of a bill, please raise them promptly. We expect
you to pay without delay all but the disputed or questioned portion of the bill. The firm's
acceptance of partial payment does not constitute an accord and satisfaction. Any concerns or
disputes about billing should be addressed promptly by both the client and the fimi. Ifthe dispute
cannotberesolved, either client or the firm is free to tenninatethe representation, whilethe other
party retains all rights and remedies.

        Fees. Unless otherwise agreed, the firm calculates fees based upon the hourly rates of the
attorneys, paralegals, and other timekeepers who perform professional services for the client. In
special circumstances, the firm may negotiate a fixed fee agreement for specific projects. This is
not the case here unless a separate written agreement to that effect has been provided. Billing rates
for attorneys and other timekeepers expected to be working with the client are provided in the
accompanying Fee and Cost Schedule (Exhibit C). Fees for other attorneys and staffare available
upon request. Billing rates are subject to adjustment. Any adjustment in the hourly rate or the
additionofothertimekeepersnot listed onthe attachedFeeandCost Schedulewill bereflected in
themonthly billing statementspresentedto the client.

       Billable Time. The client will be charged for all time spent by timekeepers performing
work reasonable and appropriate for your representation. This includes attorneys, paralegals and
legal analysis and research, review and drafting of documents, telephone calls, correspondence,
meetings, responding to client inquiries, site visits, data gathering and preparation, outlining and
budget development, strategy development, task coordination, drafting and negotiation of
agreements, lobbying, presentations, andtravel.

        Billable Costs. The client will be billed for all costs appropriately incurred on behalfof
the client. This may include postage, long distance telqihone, photocopying, messenger service,
electronic research fees (such as Westlaw or Lexis), staff overtime on specific rush projects, filing
fees, and travel costs including meals and mileage. If extraordinary costs are expected to be
incurred, the client will be advised in advance and may be asked to make advance payment.

      Nonbillable Time and Costs. The firm does notbill the client for routine secretarial costs,
wordprocessingor internet connections.
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        Estimates. For most matters, it is difficult to predict the amount of time that will be
 required, particularly where legal research, negotiation or litigation are involved. Therefore, any
 estimates offees or costs provided to the client arenot guarantees or caps on the fees that may be
incurred, unless expresslyprovided in writing.

        Retention of Experts and Other Professionals. From time to time, it may be necessary
to retain experts, consultants, mediators, or other professionals outside ofthis firm in connection
with our representation of you. Ordinarily, such professionals will submit their bills directly to
you, andyou will be solely responsible for paying their fees and costs. In some instances, it may
be advantageous for the professionals to be retained directly by this firm. The firm agrees to add
no administrative or overhead charge to fees or costs billed by the consultant or other
professional. In the event that this firm pays their fees and costs, you will be responsible to
promptly reimburse the firm, therefore. If the fees are expected to be substantial, you may be
asked to provide advance funding. Whatever the arrangement, we will always obtain your
approvalbeforeretaininganyprofessional outside this firm.

        Confidentiality. The firm is obligatedto protect the client's secrets and confidences, as
provided in the Idaho Rules of Professional Conduct. This obligation continues after the Finn's
representation is terminated. In special cases, confidentiality may be addressed in a separate
written agreement. If you have provided an email address to my firm, you acknowledge that the
email that was provided to us is secure, the account belongs to you, and there will not be a waiver
of the attorney client privilege and/or breach of the duty of confidentiality if my finn sends
documents and/orcorrespondenceto that account.

        Work Product. The client is entitled to copies of all work product developed by the firm
onthe client's behalf. However, the firm maywithhold workproduct ifthe client hasfailedto pay
fees and costs properly chargedto the client.

       File Retention. The finn generally does not keep paper files; however, the firm does
maintain an electronic document database for each case. You are advised that you should keep
copies of any and all documents regarding your case in a safe place.

        Termination by Client. The client may tenninate its relationship with the firm
unilaterally at any time upon written notice to the firm. Termination shall not affect the client's
obligation to pay for services rendered. This includes fixed fees (if any), fees and costs associated
with the provision of services prior to tennination, and fees and costs necessarily incurred by the
firm in order to wind down or hand over the work.

        Suspension of Work. The client's failure to timely pay bills may result in immediate
suspension of services being provided by the firm. Suspension will not occur without prior notice
to the client andan opportunity to cure.

        Withdrawalby Fu'm. Thefirmreservestherightto withdrawfiromitsrepresentationwith
the client's consent or for good cause. Good causemay include the client's failure to honor the
terms ofthe Engagement Agreement, the client's failure to pay amounts billed in a timely maimer,
the client's failure to cooperate or follow the firm's advice on a material matter, or any fact or
circumstance that would, in the firm's view, impair an effective attomey-client relationship or
would render the firm's continuing representation unlawful or unethical. If the firm withdraws,
the client will take all steps necessary to free the firm of any obligation to perform farther,
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including the execution ofany documents (including fonns for substitution ofcounsel) necessary
to complete its withdrawal, and the firm will be entitled to be paid for all services rendered as well
as disbursements, costs, and other charges made or incurred on behalfofthe client prior the date
of the withdrawal or necessarily incurred in the course ofwinding down or handing work over.
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                                          EXfflBITB

                                      JOHNSONMAY

                                   Retainer Fund Agreement

      All funds paid into the Retainer Fund areheld by the firm but belong to the client until such
time as fees or costs are properly incurred pursuant to the Engagement Agreement. Upon
termination ofthe firm's representation ofthe client, the client is entitled to a full refund of any
funds paid in excess of fees and costs properly incurred under this Engagement Agreement.

        The firm will maintain an accurate accounting ofall funds placed into and paid out ofthe
Retainer Fund. The balance of the Retainer Fund will be reflected in each billing statement to the
client. Interest earned on funds maintained in the Retainer Fund are contributed to charitable
purposes in accordance with the Interest on Lawyer Tmst Accounts ("IOLTA") program of the
Idaho Bar.

        The establishment of a Retainer Fund does not constitute either an estimate of or cap on
total fees and costs.

        Fees and costs properly incurred under the Engagement Agreement will be charged against
fundsremainingin theRetainerFund. IffeesandcostsincurredexceedthebalanceoftheRetainer
Fund, the client is responsible to promptly pay the balance. As new matters are opened, either the
client or the firm mayrequestthata separateRetainerFundbeopenedfor eachnewmatter. Ifthat
is not done, the Retainer Fund will be available to pay charges associated with all open matters.

        The fact that funds in the Retainer Fund are available or have been used to pay fees and
costs incurreddoesnot impairthe client's rightto disputeanyfee or cost. Thefirm will reimburse
the Retainer Fund (or the client) for any amount determined not to have been properly charged.
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                                         EXHIBIT C

                                      JOHNSONMAY

                                     Fee and Cost Schedule
                                        Pro essional Fees


        Billing rates for attorneys at Johnson May range between $195 and $375 per
hour. Paralegalbilling rates rangebetween $95 and $175 perhour. A complete fee schedule for
all firm timekeepers is availableuponrequest.

       Thehourly fees oftimekeepers currently expectedto be associatedwith this
representation are listed below.

       Wyatt B. Johnson                                         $375 per hour
       Matthew T. Christensen                                   $375 perhour
       J. Justin May                                            $375 perhour
       Sheli Fulcher Koontz                                     $375 per hour
       Louis Spiker                                             $375 per hour
       Michelle Points                                          $350per hour
       NatashaN. Hazlett                                        $325per hour
       Bart Browning                                            $275 perhour
       J. Dee May                                               $275 per hour
       Lea Kear                                                 $275 per hour
       ChadR. Moody                                             $250perhour
       JanineP. Reynard                                         $300perhour
       BrandenM. Huckstep                                       $215 perhour
       Allison Johnson                                          $230per hour
       JaredNelson                                              $195 perhour
       Caroline Cortens                                         $175 per hour
       Candice Booher                                           $150per hour
       Melanie Anderson                                         $150perhour
       JessicaBrocious                                          $130per hour
       Kevin Gilbert                                            $130perhour
       Sheri Mitchell                                           $130perhour
       Abigail Stephens                                         $95 per hour
       Amber Kaiser                                             $95 per hour
       Lorena Scott                                             $95 perhour
       Megan Richmond                                           $95 per hour


       The rates quoted above are for the year 2021 Billing rates are subject to adjustment
annually. Any adjustment in the hourly rate or additional personnel will be reflected in your
monthly billing statements.
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                                                     Costs


        Costs are subject to adjustment annually. Any adjustment will be reflected in the monthly
billing statements presentedto the client. The firm doesnot chargeanoverheador administrative
fee for services contracted on a client's behalf.


                    Photoco     in                  $0.20, a e-all co ies over 500
                    Messen er Service               On a case-b -case matter
                    Westlaw/Lexis                   Prevailin rate
                    Lon Distance Tel hone           Prevailin rate
                    Overtime Staff Char es          $50.00/hour
                    Facsimile                       No Char e
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                                           EXfflBITD

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                                        Conflict Agreement

        Our representation of you is governed by the Rule 1.7 ofthe Idaho Rules of Professional
Conduct. 113 This rule prohibits the firm from rqiresenting two clients where our representation of
one client would be directly adverse to another client unless three conditions are met: (1) the
circumstances are fully explained, (2) each client expressly waives the conflict with written
confinnation, and (3) it is reasonable for us to ask them to do so. The purpose of this Conflict
Agreement is to advise you of actual and potential conflicts and obtain your informed consent
before we undertake your representation. By agreeing to this representation, you hereby waive the
conflicts of interest described here.

                           No Direct Conflicts of Interest Are Antici ated

        The firm is not aware of any direct conflicts of interest with respect to our representation
of you. By direct conflicts, we mean situations in which you and another client have directly
conflicting positions or objectives, and our representation ofat least one party involves advocating
that position or pursuingthat objective.




[1] Rule 1.7 ofthe Idaho Rules of Professional Responsibility (effective July 1, 2004) provides:

RULE 1. 7: CONFLICT OF INTEREST: CURRENT CLIENTS
        (a)   Except as provided in paragraph (b), a lawyer shall not represent a client if
       the representation involves a concurrent conflict of interest. A concurrent conflict
       of interest exists if:
               (1) therepresentationofoneclientwill bedirectlyadverseto anotherclient;
               or
               (2) there is a significantrisk that the representation ofone or more clients
               will be materially limited by the lawyer's responsibilities to another client,
               a former client or a third person or by the personal interests of the lawyer,
               including family anddomesticrelationships.
       (b)    Notwithstanding the existence of a concurrent conflict of interest under
       paragraph (a), a lawyer may represent a client if:
               (1) the lawyer reasonably believes that the lawyer will be able to provide
               competent and diligent representation to each affected client;
               (2) the representationis not prohibitedby law;
               (3) therepresentationdoesnot involvetheassertionofa claimby one client
               against another client represented by the lawyer in the same litigation or
               other proceeding before a tribunal; and
               (4) each affected client gives informed consent, confirmed in writing.
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                                     Indirect Conflicts of Interest

         In addition to the direct conflicts discussed above, it is possible that the interests ofyourself
and those of our other clients could be at odds on matters not directly related to our representation
ofyou. You should be awarethat the finn's lawyers are engagedin matters on behalfof a wide
variety of clients. This includes, among others, businesses and industries of all types, banks and
other financial institutions, business owners, venture capitalists, trusts, doctors and hospitals, trade
organizations, real estate investors and developers, professional groups, industry associations,
homeowner groups, citizen groups, user groups, policy advocacy organizations, nonprofits, and
governmental entities at all levels, as well as other public and quasi-public entities. We represent
these persons and entities in private transactions as well as matters before courts, agencies,
regulatory and governmental bodies, and state and federal legislatures. Consequently, the firm's
lawyers are frequently engaged in a variety of public policy, regulatory, and legislative matters
withbroadimplications.

        It is not unlikely that we may now or in the future represent other persons or entities in
your industry or business. In some cases, this may include direct competitors of yours. It might
also include those with whom you have commercial, financial, regulatory or other relationships.

       It is possible that something that we do on behalfof one client might have implications or
repercussions for your business. For instance, any time we help another client buy a piece of
property, that investment opportunity is not available to you. Likewise,there could be instances
in which we pursue a policy issue or legal precedent on behalf of one client that you might not
consider favorable or desirable.

       In some cases, our clients may be your business competitors or those with whom you have
commercial, financial, regulatory or other relationships. Likewise, we represent clients that may
hold viewpoints or advocate public policy positions contrary to yours. We may also represent
governmental bodies with which you deal on other issues.

        We also represent clients that may hold viewpoints or advocate public policy positions
contrary to those ofyou. By agreeing to this representation, you have agreed on behalfofyourself
not to disqualifyme or my firm from representing any other client on the basisthat the work we
are doing for the other client is conb-ary to the policies, goals or business objectives of yours so
long as the work for the other client is unrelated to the matters on which you have engaged this
firm.

                        Future Conflicts and Termination of Re resentation

       As stated in the Engagement Agreement, you may end our legal representation of you at
any time. However, by entering into this Engagement Agreement, you agree not to object to our
representation of other existing or future clients as disclosed and described in this Conflict
Agreement.
